                  Case 6:18-cr-00492-MC                         Document 53                 Filed 07/24/19               Page 1 of 2




                                            UNITED STATHS DISTRICT COURT
                                             FOR THE DISTRICT OF OREGON

 UNITED STATES OF AMERICA                                                                                              0REER SETTING %#Bl££*:¥§,
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                                                                                                                          Case Number: 6: 18CR492-MC
 John Jordan

ITrsORDEREDthattherelcaseOfthedefendentis§ubjcottothefollowingconditions:

(1}       The dgfindant Shall rot commit any offense in violations offied¢ral, sfate or local law while on release in this case.

(2}       The defendrt mngt¢oqute in the cQlkehon ofa ENAsaxple ifthecollGction is aufrorized by 42 U.S.a § 14135a`

{3}        The defuth shaH inmediatdy advise the coot though prndal serviees or defense counsel in whti#g of any change in
          edaress and tctaphone number.

(4)       The defrodant shall apex at all proceedings a§ fequtred and shall surender for service of any rmtence iixposed as dirceted.
          The defirfunt Sham pert appear as directed by U.S. District Coiirt.

                                                            Addltlonal Conditions Of Rdease

IT IS FURTHER ORDERED that the defendant be released provided that the drfendant:
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TO THE DEFENDANT :

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